               Case 1:11-cr-00239-CAP-ECS Document 620 Filed 05/09/12 Page 1 of 5




                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

             UNITED STATES OF AMERICA         :
                                              : CRIMINAL ACTION
                       v.                     :
                                              : No. 1:11-cr-239-31-CAP-ECS
             VICTOR MANUEL ANGUIANO-GUTIERREZ :
             a/k/a Brujo                      :
             a/k/a Juan Castinanda            :
                                              :
                                              :

                                   REPORT AND RECOMMENDATION
                               OF UNITED STATES MAGISTRATE JUDGE

                  The above-captioned matter is before the Court on a number of

             motions, all of which are ready for a Report and Recommendation to

             the District Judge.    The recommendations are set forth below:

                                                 I.

                  First, as to the motions to suppress evidence, [Docs. 353,

             465], the undersigned RECOMMENDS that these motions be DENIED.         At

             the pre-trial conference on October 25, 2011, the undersigned

             granted Defendant until November 4, 2011, to particularize Doc. 353.

             On November 4, 2011, Defendant filed Doc. 465.         The particularized

             motion to suppress challenges a search warrant and seeks a hearing

             under Franks v. Delaware, 438 U.S. 154 (1978).         The particularized

             motion, however, does not attach the warrant or warrant affidavit

             and does not allege with any particularity or specificity the

             justification for a hearing under Franks.        “To attack the veracity

             of a warrant affidavit, a defendant must make a preliminary showing




AO 72A
(Rev.8/82)
               Case 1:11-cr-00239-CAP-ECS Document 620 Filed 05/09/12 Page 2 of 5




             that the affiant made intentional misstatements or omissions (or

             made misstatements with a reckless disregard for their truthfulness)

             that were essential to the finding of probable cause.” United States

             v. Burston, 159 F.3d 1328, 1333 (11th Cir. 1998).           Defendant has

             failed to make this preliminary showing, and the motions, [Docs.

             353, 465], therefore, should be DENIED.        See also United States v.

             Richardson, 764 F.2d 1514, 1527 (11th Cir. 1985) (“[T]he motion must

             allege facts which, if proven, would provide a basis for relief.           A

             court need not act upon general or conclusory assertions founded on

             mere suspicion or conjecture, and the court has discretion in

             determining the need for a hearing.”).

                                                 II.

                  As for the motions to suppress intercepted communications,

             [Docs. 355, 464], these motions should likewise be DENIED.             At the

             October 25, 2011, pre-trial conference, Defendant was granted until

             November 4, 2011, to particularize the motion.         The particularized

             motion, however, still fails to state with any particularity any

             legal or factual basis for suppression of any wiretap or for an

             evidentiary hearing under Franks.         The motions, [Docs. 355, 464],

             therefore, should be DENIED.




                                                  2




AO 72A
(Rev.8/82)
               Case 1:11-cr-00239-CAP-ECS Document 620 Filed 05/09/12 Page 3 of 5




                                                    III.

                     Defendant’s motions to suppress statements and for Jackson v.

             Denno1 hearing, [Docs. 354, 463], came on for a hearing February 7,

             2012.       The transcript of the hearing was filed on February 24, 2012,

             [563].2      Defendant was given until March 5, 2012, to file his brief

             in support of the motions to suppress statements. [Doc. 541].

             Thereafter, Defendant’s counsel advised the Court that he would not

             be filing a brief in support of the motion.      Defendant’s counsel did

             not expressly state that he was abandoning the motions.         But, based

             upon Defendant’s failure to file a brief making any arguments for

             suppression of any statements that Defendant may have made, the

             undersigned deems the motions, [Docs. 354, 463], ABANDONED or

             WITHDRAWN.3       Cf. United States v. Bullock, 590 F.2d 117, 120 (5th

             Cir. 1979).4


                     1
                             378 U.S. 368 (1964).
                     2
                       The transcript of the hearing is hereinafter abbreviated
             as “[T. (page)].”
                     3
                       In addition, a review of the transcript of the testimony
             shows that Defendant was read his rights under Miranda v. Arizona,
             384 U.S. 436 (1966), and knowingly, intelligently and voluntarily
             waived them. There also is no evidence that his statement made on
             June 8, 2011, after waiver of his rights, was involuntary or
             coerced. See [T. 4, 13-17, 28-29].
                     4
                       In the en banc decision Bonner v. City of Prichard, 661
             F.2d 1206, 1209 (11th Cir. 1981), the circuit adopted as binding
             precedent all decisions of the former Fifth Circuit handed down
             prior to October 1, 1981.

                                                     3




AO 72A
(Rev.8/82)
               Case 1:11-cr-00239-CAP-ECS Document 620 Filed 05/09/12 Page 4 of 5




                                                 IV.

                  Finally, the undersigned concludes that the motions to sever,

             [Docs. 451, 462], should also be DENIED.        Again, as with the other

             motions, the undersigned gave Defendant until November 4, 2011, to

             particularize and Defendant filed a more particularized motion.

             [Doc. 462].    The particularized motion to sever, however, still

             makes no more than conclusory allegations of “spillover prejudice”

             allegedly resulting from being tried with more actively-involved co-

             defendants. See [Doc. 462, at 1-2].

                  Initially it bears noting that Defendant is properly joined

             under Rule 8(b) of the Federal Rules of Criminal Procedure. Indeed,

             Defendant makes no argument that initial joinder under Rule 8 was

             improper. See [Doc. 462].     As for severance based upon prejudicial

             joinder under Rule 14 of the Federal Rules of Criminal Procedure,

             Defendant has not alleged sufficient facts or circumstances to show

             actual compelling prejudice, as required under the rule. See United

             States v. Cassano, 132 F.3d 646, 651 (11th Cir. 1998) (citing United

             States v. Schlei, 122 F.3d 944, 984 (11th Cir. 1997)).           Defendant

             argues “spillover prejudice,” which is insufficient to warrant

             severance absent particularized facts indicating that the jury would

             be unable to follow appropriate limiting instructions.          See United

             States v. Walser, 3 F.3d 380, 386-87 (11th Cir. 1993); see also

             United States v. Wasson, 568 F.2d 1214, 1222-23 (5th Cir. 1978).

                                                  4




AO 72A
(Rev.8/82)
               Case 1:11-cr-00239-CAP-ECS Document 620 Filed 05/09/12 Page 5 of 5




             Accordingly, the undersigned RECOMMENDS that the motions to sever,

             [Docs. 451, 462], be DENIED.

                                                 V.

                  In conclusion, IT IS REPORTED AND RECOMMENDED that: the motions

             to suppress, [Docs. 353, 465]; the motions to suppress intercepted

             communications, [Docs. 355, 464], and the motions to sever, [Docs.

             451, 462], be DENIED, and that the motions to suppress statements,

             [Docs. 354, 463] be DEEMED ABANDONED and/or WITHDRAWN.

                  It appearing that there are no further pretrial or discovery

             matters to bring before the undersigned as to this defendant, it is

             therefore ORDERED that this defendant be and is hereby CERTIFIED as

             ready for trial.5



                  SO REPORTED AND RECOMMENDED, this 9th day of May, 2012.

                                                        s/ E. Clayton Scofield
                                                      E. CLAYTON SCOFIELD III
                                                      UNITED STATES MAGISTRATE JUDGE




                  5
                    This Court observes that this defendant has been indicted
             with additional defendants and that matters pertaining to such co-
             defendants are still pending. Pursuant to 18 U.S.C. §3161 (h)(7)
             (the Speedy Trial Act), the time for commencing the trial of these
             defendants may be stayed until such time as all defendants have
             been certified ready for trial. Hence, it is not necessary to place
             the above-named defendant’s case on the calendar for trial at this
             time.

                                                  5




AO 72A
(Rev.8/82)
